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                                UNITED STATES DISTRICT COURT

                                        DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA,

                       Plaintiff,                                         21-CR-399 (RDM)
                           v.                                  Notice of Supplemental Authority
 ROMAN STERLINGOV,

                     Defendant.




       Roman Sterlingov respectfully submits this Notice of Supplemental Authority involving

defendants convicted of “similar conduct,” 18 U.S.C. § 3553(a)(6), who received significantly

lower sentences than those recommended by the government and Probation here:

   •   United States v. Firoz Patel, Dkt. 18-cr-053-KBJ (DDC) – Patel “operate[d] an unlicensed
       money service business” that systematically laundered “more than $250 million” in fraud
       and other criminal proceeds – including fruits of a Ponzi scheme in which he personally
       “participated” – for over “10 years.”1 Notably, Patel “actively solicit[ed] transfer of monies
       and fees from known illegal enterprises, such as drug dealers and fraudulent business
       operators; set[] up various entities to conceal the fact that [they] were accepting money
       transfers from illegal merchants; and actively sanitize[d] client lists and other records …
       to prevent regulators and others from detecting it.” 2 Agreeing that the Guidelines’ advisory
       offense level (49) and “life” imprisonment range were “draconian” and “out of whack,”
       then-Judge Brown Jackson sentenced Patel to 36 months.3
   Patel, a case in this District, appears to correspond to the 36-month sentence the U.S.

Sentencing Commission located in response to a request from this Court, Dkt. 326. Meanwhile,



       1
         United States v. Firoz Patel, No. 18-cr-053-KBJ (DDC), Dkt. 107 at 3, 15-16; id. 140 at 86.
       2
         Id. 140 at 86.
       3
         Id. 14, 17, 86, 94.
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the 240-month sentence identified may relate to United States v. Delgado,4 involving a Texas-

based attorney who “conspired to use ingenious methods” to launder “up to $600 million” on

behalf of a Mexican cartel using “fraudulent court documents,” “companies” and his “IOLTA

account.”5 That sentence, however, was vacated by the Fifth Circuit, due in significant part to

overvaluation of the laundered funds.6

    Additionally, the defense located this recent case:

    •   United States v. Feliks Medvedev, Dkt. 22-cr-00184-TWT (NDGA) – Medvedev used eight
        shell companies to conduct more than 1300 transactions and launder over $150 million on
        behalf of now sanctioned Russian nationals and their company. He was sentenced to 46
        months’ imprisonment.7

        Though both Patel and Medvedev entered guilty pleas, 8 that discrepancy alone cannot

account for the huge gulf between their sentences and that sought for Sterlingov. He therefore

merits a substantial reduction.

        Finally, the defense respectfully attaches additional sentencing letters as Exhibit A-B.




        4
            United States v. Delgado 608 F. App'x 230, 231 (5th Cir. 2015).
        5
            United States v. Delgado, No. 12-cr-2106-DCG, Dkt. 149 at 4, 15, 31-34, 2016 WL 1743419 (W.D.Tex.).
          6
            Delgado, 608 F. App'x at 238. Delgado was subsequently resentenced to 192 months. United States v.
Delgado, No. 12-cr-2106-DCG, Dkt. 166 at 2. The defense has been unable to locate the additional cases referenced
by the Sentencing Commission but suggests the 360-month sentence may have resulted from a plea concession to
avoid life imprisonment for conduct more serious than money laundering or unlicensed money transmission.
          7
            United States v. Feliks Medvedev, No. 22-cr-00184-TWT (NDGA), Dkt. 6; Russian Man Sentenced for
Running an Illegal Money Transmitting Business, DOJ PRESS RELEASE (available at www.justice.gov/opa/pr/russian-
man-sentenced-running-illegal-money-transmitting-business) (Oct. 2, 2024).
          8
            Similarly, the government allowed TD Bank to resolve by plea agreement claims that it failed to monitor
over $18 trillion in transactions and facilitated the laundering of more than $600 million in criminal proceeds. Its
executives, at least thus far, have not been charged.
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Dated: November 4, 2024
       New York, NY

                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 4th of November 2024, the forgoing document was filed with

the Clerk of Court using the CM/ECF System. I also certify that a true and correct copy of the

foregoing was sent to the following individuals via e-mail:

                                                                               s/ Michael Hassard


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